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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


WESTERN ENERGY ALLIANCE,                     )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )
                                             )
RYAN ZINKE, in his official capacity as      )       Case No. 1:16-cv-00912-WJ-KBM
Secretary of the United States Department    )
of the Interior, and BUREAU OF LAND          )
MANAGEMENT,                                  )
                                             )
       Federal Defendants,                   )
                                             )
and                                          )
                                             )
THE WILDERNESS SOCIETY, et al.,              )
                                             )
       Intervenor-Movants.                   )
                                             )


                                  JOINT STATUS REPORT

       Plaintiff Western Energy Alliance (the “Alliance”), Defendants Ryan Zinke and the Bureau

of Land Management, and the Intervenor Conservation Groups submit respectfully this joint status

report responsive to the order the Court filed on February 20, 2018. See Order for Filing of Joint

Status Report, filed Feb. 20, 2018 (ECF No. 61). The parties state the following:

       1.      On January 31, 2018, the United States Department of the Interior issued a new

Instruction Memorandum addressing oil and gas leasing and management, which “includes

provisions that relate to the allegations raised in Counts II and III of the Alliance’s Complaint.”

Stipulation of Partial Dismissal, filed Feb. 1, 2018 (ECF No. 58). On February 1, 2018, the

Alliance dismissed Counts II and III in light of the new Instruction Memorandum. Id. The only
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claim that remains pending in this lawsuit is Count I, the Alliance’s claim under the Freedom of

Information Act, 5 U.S.C. § 552 (“FOIA”).

       2.      At this time, the Alliance and the federal defendants believe that the only remaining

issue to resolve under Count I is the amount of attorneys’ fees to which the Alliance is entitled.

The Alliance and federal defendants believe they can resolve that issue without the Court’s

involvement, but reserve the right to request the Court adjudicate the issue if the parties are unable

to reach agreement.

       3.      In their motion to intervene, the Conservation Groups stated that “[s]o long as [the

Conservation Groups] receive copies of all FOIA documents produced to [the Alliance], the

Conservation Groups do not object if this Court grants intervention subject to a condition that the

Conservation Groups may not participate in briefing or other proceedings that only address Count

1.” Conservation Groups Mot. to Intervene at 3, filed Oct. 19, 2016 (ECF No. 11).

       4.      On December 18, 2017, the United States Court of Appeals for the Tenth Circuit

reversed this Court’s denial of the Conservation Group’s motion to intervene. See W. Energy All.

v. Zinke, 877 F.3d 1157 (10th Cir. 2017). Intervention with regard to proceedings on Count I was

not in dispute in the appeal. The Tenth Circuit’s opinion noted that the Alliance’s FOIA claim “is

not mentioned in the motion to intervene” and explained that Count I “is not relevant to this

appeal.” Id. at 1163.

       5.      The Conservation Groups request that the Court grant intervention subject to

conditions consistent with their original motion. Neither the Alliance nor the federal defendants

object to the Court granting the Conservation Groups intervention at this time, subject to the

following conditions: (i) the Conservation Groups may not participate in any briefing regarding

Claim I; and (ii) federal defendants will provide the Conservation Groups copies of all documents



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produced in connection with the FOIA requests that are the subject of Claim I. These conditions

are acceptable to the Conservation Groups.


       Submitted respectfully this 13th day of March 2018,


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 District of New Mexico

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